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                                   8                                UNITED STATES DISTRICT COURT
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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
                                  11

                                  12    APPLE INC.,                                         Case No. 11-CV-01846-LHK
Northern District of California
 United States District Court




                                  13                  Plaintiff,                            REVISED TENTATIVE VERDICT
                                                                                            FORM
                                  14           v.

                                  15    SAMSUNG ELECTRONICS CO. LTD.,
                                        et al.,
                                  16              Defendants.
                                  17

                                  18          The Court’s revised tentative verdict form is attached as Exhibit A. The parties shall file

                                  19   any comments to this verdict form by May 14, 2018.

                                  20   IT IS SO ORDERED.

                                  21

                                  22   Dated: May 12, 2018

                                  23                                                   ______________________________________
                                                                                       LUCY H. KOH
                                  24                                                   United States District Judge
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                                       Case No. 11-CV-01846-LHK
                                       REVISED TENTATIVE VERDICT FORM
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                                   8                                EXHIBIT A
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                                  12
Northern District of California
 United States District Court




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                                       Case No. 11-CV-01846-LHK
                                       REVISED TENTATIVE VERDICT FORM
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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                               SAN JOSE DIVISION
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                                  12    APPLE INC.,                                           Case No. 11-CV-01846-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                             REVISED TENTATIVE VERDICT
                                                                                              FORM
                                  14            v.

                                  15    SAMSUNG ELECTRONICS CO. LTD.,
                                        et al.,
                                  16              Defendants.
                                  17

                                  18          We, the jury, unanimously agree to the answers to the following questions and return them
                                  19
                                       under the instructions of this Court as our verdict in this case.
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                                       Case No. 11-CV-01846-LHK
                                       REVISED TENTATIVE VERDICT FORM
                                   1                          FINDINGS ON APPLE’S DAMAGES CLAIMS
                                   2
                                       1. What is the total dollar amount that Apple is entitled to receive for Samsung’s infringement of
                                   3   the D’677, D’087, and D’305 patents?
                                   4             $                                                  .
                                   5
                                       2. For the total dollar amount in your answer to Question 1, please provide the dollar breakdown
                                   6   by product.
                                   7                  Samsung Product                    Damages for Infringement of
                                                                                        D’677, D’087, and D’305 Patents
                                   8       Captivate (JX 1011)
                                           Continuum (JX 1016)
                                   9
                                           Droid Charge (JX 1025)
                                  10       Epic 4G (JX 1012)
                                           Fascinate (JX 1013)
                                  11       Galaxy S 4G (JX 1019)
                                  12       Galaxy S II (AT&T) (JX 1031)
Northern District of California




                                           Galaxy S II (Epic 4G Touch) (JX 1034)
 United States District Court




                                  13       Galaxy S II (Skyrocket) (JX 1035)
                                           Galaxy S II (T-Mobile) (JX 1033)
                                  14
                                           Galaxy S Showcase (JX 1017)
                                  15       Gem (JX 1020)
                                           Indulge (JX 1026)
                                  16       Infuse 4G (JX 1027)
                                  17       Mesmerize (JX 1015)
                                           Vibrant (JX 1010)
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                                       Case No. 11-CV-01846-LHK
                                       REVISED TENTATIVE VERDICT FORM
                                   1   3. What is the total dollar amount that Apple is entitled to receive for Samsung’s infringement of
                                       the ’381 and ’163 patents?
                                   2
                                                 $                                                  .
                                   3

                                   4   4. For the total dollar amount in your answer to Question 3, please provide the dollar breakdown
                                       by product.
                                   5
                                                      Samsung Product                  Damages for Infringement of ’381
                                   6                                                          and ’163 Patents
                                           Captivate (JX 1011)
                                   7       Continuum (JX 1016)
                                   8       Droid Charge (JX 1025)
                                           Epic 4G (JX 1012)
                                   9       Fascinate (JX 1013)
                                           Galaxy S 4G (JX 1019)
                                  10
                                           Galaxy S II (AT&T) (JX 1031)
                                  11       Galaxy S II (T-Mobile) (JX 1033)
                                           Gem (JX 1020)
                                  12
Northern District of California




                                           Indulge (JX 1026)
 United States District Court




                                  13       Infuse 4G (JX 1027)
                                           Mesmerize (JX 1015)
                                  14       Vibrant (JX 1010)
                                  15
                                       Have the presiding juror sign and date this form.
                                  16

                                  17
                                       Signed:__________________________________ Date:______________________________
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                                       Case No. 11-CV-01846-LHK
                                       REVISED TENTATIVE VERDICT FORM
